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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO



 Criminal Action No. 13-cr-000392-CMA

 UNITED STATES OF AMERICA,
 Plaintiff,

 v.

 #4 CLARA M. MUELLER
 Defendant.



      UNOPPOSED MOTION TO DETERMINE THE COMPETENCY OF DEFENDANT


 Defendant Clara Mueller, Defendant #4, by and through counsel, hereby requests the

 Court enter an Order to determine her mental competency. In support of this motion,

 defendant states the following:

                                     General Allegations

 1. Ms. Mueller is charged in a multi count Indictment with various criminal tax

 offenses including filing false claims for tax refunds, obstructing the Internal

 Revenue Service and with conspiracies to commit said offenses. See,

 Indictment, Counts 1, 13, 14 & 18 (Doc. #1, filed 9/23/13 and Doc. #53, filed

 10/21/13).

 2. Defendant is currently scheduled for a status conference on July 16, 2014.

 3. Defendant suffered a stroke in March of 2013. The stroke left defendant with speech

 issues, right side paralysis, as well as memory issues. Further, defendant’s left eye is

 red, swollen and causes her daily pain. As a result of both the stroke and eye issues,



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 defendant must take two daily naps, needs assistance to get dressed, use the

 bathroom, as well as getting to and from places.        Currently, defendant resides in

 assisted living with 24 hour nursing support.

 4. The government is aware of this request and does not oppose it. Counsel for Ms.

 Vigil is aware of this request and of defendant’s status. Upon information and belief, the

 other two co-defendants are aware of defendant’s medical condition but counsel has not

 contacted them as to their position regarding this motion as the co-defendants do not

 have standing as to this motion.

 5. Defendant has contacted Dr. Richard Martinez, M.D. who holds the Robert D. Miller

 Professorship of Psychiatry and Law at the University of Colorado Medical School to

 determine if he is available to conduct a competency exam of the defendant.            Dr.

 Martinez has indicated that he is available, depending upon the time line, and that if he

 is not, one of his fellows would be available. The government has been informed of Dr.

 Martinez, given a copy of his C.V., and does not oppose him conducting the

 competency examination. (Exhibit 1, C.V. of Dr. Richard Martinez)

 6. Defendant is requesting that this exam be performed by a Medical Doctor as her

 issues stem from a medical condition - a stroke.




                          Concerns for Defendant’s Competency



 7. Counsel met with defendant on November 26, 2013. Defendant, who remains in




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 custody, was unable to effectively communicate with counsel.           Defendant exhibited

 lapses in memory as well as being highly emotional.           Defendant’s statements and

 conduct did not follow the logical course of communication. Defendant was unable to

 tell counsel the reason he was being incarcerated and he was unable, in the opinion of

 counsel, to understand the nature of his charges as well as the upcoming sentencing

 procedures.

 8. Counsel was made aware of defendant’s stroke in March. At the time, counsel

 communicated with defendant’s friends and family until defendant was able to

 communicate with counsel. Although defendant is able to communicate, both in person

 and by the telephone, counsel has serious concerns as to the ability of defendant to

 understand the proceedings and assist counsel.

 9. On June 25, 2014, counsel and investigator, Mark Hopko, visited defendant at her

 assisted living residence in Colorado Springs. Among the observations of both counsel

 and Mr. Hopko were the following:

 a. Upon arriving, defendant was sitting in the lobby of her residence. Defendant d i d

 not recognize either counsel nor Mr. Hopko by sight.          Defendant was not able to

 distinguish between counsel and Mr. Hopko until she was told which person was

 which. Defendant had met with both counsel and Mr. Hopko previously.

 b. Defendant was in a wheel chair. She was pushed to the lobby and to her room by a

 friend. She indicated that while she can walk for brief moments, with the assistance of a

 cane, she is mostly confined to the wheel chair and that she is a fall risk.

 c. Defendant’s left eye was visibly red and inflamed. She said that her eye has




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 glaucoma and that it causes her pain on a daily basis. The pain ranges from 3 - 5 on a

 scale of 10 and that whereas she used to read without any trouble, she now either

 cannot read or reading takes her a tremendous amount of time and effort.

 d. Defendant exhibited impaired memory. Defendant did not recall previous meeting

 with counsel, with counsel and Mr. Hopko, nor did she recall Mr. Tatum, counsel for Ms.

 Vigil.   Further, defendant did not recall substantive details of her case, including the

 potential range of punishment, discussions revolving around trial strategy, as well as

 pertinent facts surrounding her case.

 e. Defendant’s right arm was in a sling. Her right leg had a support brace on it. She

 indicated that her right leg still had blood clots and that her use of her right extremities

 was very limited. As a result, defendant often needs the assistance of others to use the

 bathroom, get dressed, and to take care of basic functions. Defendant does not drive

 and needs assistance if she leaves her residence.

 f. Defendant is living in an assisted living facility with 24 hour assistance. Defendant

 made a point of telling counsel and Mr. Hopko that she had immediate access to help if

 she fell or needed help.

 g. Counsel and Mr. Hopko asked defendant a series of questions to attempt to gauge

 her memory. Defendant exhibited poor recollection of many facts, including the names

 of her co-defendants. Defendant also was, understandably, upset by her memory

 issues and, at least to counsel, appeared to cover her memory issues by answering

 questions in a very broad manner.




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 10.   As a result of counsel’s observations, counsel believes that defendant is not

 competent to proceed. Counsel believes that defendant does not properly understand

 the proceedings.     Counsel believes that defendant is unable to assist in her own

 defense.    Counsel also has serious concerns about the ability of defendant to sit

 through a multi-week trial due to her physical condition.




                                        Legal Basis

 11. 18 U.S.C. § 4241(a) provides that “[a]t any time after the commencement of a

 prosecution for an offense and prior to the sentencing of the defendant, or at any time

 after the commencement of probation or supervised release and prior to the completion

 of the sentence, the defendant or the attorney for the Government may file a motion for

 a hearing to determine the mental competency of the defendant.”

 12. 18 U.S.C. § 4241(a) further states that “the court shall grant the motion, or shall

 order such a hearing on its own motion, if there is reasonable cause to believe that the

 defendant may presently be suffering from a mental disease or defect rendering him

 mentally incompetent to the extent that he is unable to understand the nature and

 consequences of the proceedings against him or to assist properly in his defense.”

 13. Based upon the representations of counsel, defendant asserts that there exists

 “reasonable cause” to believe that defendant is not competent to proceed and, as such,

 an evaluation of the defendant to determine his mental status is appropriate.

 14. Criminal prosecution of an accused person while legally incompetent offends due




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 process. See United States v. Williams, 113 F.3d 1155, 1159 (10th Cir. 1997). citing

 Pate v. Robinson, 383 U.S. 375, 385 (1996).




                              The Position of the Government



 15. Defendant has contacted the government in order to ascertain their position as to

 this request. The government is not opposed to this request.




                                      Prayer for Relief


 WHEREFORE, defendant prays the Court grant his request and Order:

 1. A competency exam of defendant;

 2. A full physical exam of defendant to determine the extent of assistance required at

 trial if she is deemed competent to stand trial.




 DATED at Denver, Colorado this, 15 day of July, 2014.


                                                          /s/Miller Leonard
                                                          Attorney for Defendant
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                                CERTIFICATE OF SERVICE

 I hereby certify that this Motion was delivered, via the ECF system for the District of
 Colorado to all parties, this 15th day ofJuly, 2014.

 /s/ Miller Leonard




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